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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

HECTOR ROMAN-MONTAÑEZ,

      Plaintiff,

                   v.                      Civil No. 17-1488 (FAB)

OLGA TORRES-MENDEZ, et al.,

      Defendants.



                           OPINION AND ORDER


BESOSA, District Judge.

      Before the Court is defendant Olga Torres-Méndez (“Torres”)’s

motion to dismiss pursuant to Federal Rule of Civil of Procedure

12(b)(6) (“Rule 12(b)(6)”).      (Docket No. 19.)    For the reasons set

forth below, the Court GRANTS the motion to dismiss.

I.    Background

      Plaintiff Hector Roman-Montañez (“Roman”) is an inmate at the

Puerto Rico Department of Corrections and Rehabilitation Maximum

Security Institution, or Institución Máxima Seguridad, in Ponce,

Puerto Rico.    (Docket No. 3.)     Roman commenced this action pro se

pursuant 42 U.S.C. section 1983 (“section 1983”).           Id.   According

to Roman, he suffers from lower back pain due to herniated discs.

Id. at p. 3.     Torres, Roman’s treating physician, “has been with

this case since day one and has given [Torres] therapy and also

different medications with no good results.”          Id.    Subsequently,
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Torres prescribed Roman an eight-day supply of Gabapentin, also

referred to as Neurontin.              Id.     The Gabapentin relieved Roman’s

back pain.       Id.    Roman alleges that in the following three months,

Torres refused to prescribe Gabapentin, “making it very hard for

[Torres] to deal with the pain.”                Id.   Furthermore, Torres denied

Roman’s request to prescribe Gabapentin on a permanent basis.                          Id.

     Roman completed a section 1983 complaint form on February 27,

2017,    naming        Torres    and     the    Correctional       Health       Services

Corporation as defendants.              Roman requests that this Court order

Torres     to    prescribe       Gabapentin       “every    day    until    the       pain

decreases.”       Id. at p. 2. Additionally, Roman seeks $200,000 in

damages for pain and suffering.                Id.

     The        Court     granted       the    Correctional        Health       Services

Corporation’s          motion   to     dismiss.       (Docket      Nos.    13    &    21.)

Accordingly, the only claim remaining before the Court is the

section 1983 cause of action against Torres.                  Torres has moved for

dismissal,       arguing        that    the     Court      lacks    subject          matter

jurisdiction and that the complaint fails to state a claim upon

which relief may be granted. 1            (Docket No. 19.)         The Court grants

Torres’s motion to dismiss on this second basis.




1 Jurisdiction exists in this case pursuant to 28 U.S.C. § 1331 because Roman
seeks relief pursuant to 42 U.S.C. § 1983, a federal statute.
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II.    Rule 12(b)(6) Motion to Dismiss Standard

       Pursuant to Rule 12(b)(6), defendants may move to dismiss an

action for failure to state a claim upon which relief can be

granted.    See Fed. R. Civ. P. 12(b)(6).       To survive a Rule 12(b)(6)

motion, a complaint must contain sufficient factual matter “to

state a claim to relief that is plausible on its face.”            Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007).           The Court must decide

whether the complaint alleges sufficient facts to “raise a right

to relief above the speculative level.”          Id. at 555.     In doing so,

the Court is “obligated to view the facts of the complaint in the

light    most   favorable   to   the    plaintiffs,   and   to   resolve   any

ambiguities in their favor.”        Ocasio-Hernandez v. Fortuño-Burset,

640 F.3d 1, 17 (1st Cir. 2011).         A complaint that adequately states

a claim may still proceed even if “recovery is very remote and

unlikely.”      Ocasio-Hernandez, 640 F.3d at 13 (internal quotation

marks and citations omitted).          Because Roman is proceeding pro se,

the complaint is entitled to a liberal construction.                Linares-

Rosado v. Torres-Medina, Case No. 11-1659, 2012 U.S. Dist. LEXIS

152226 *5 (D.P.R. Oct. 22, 2012) (Fuste, J.).

III. Discussion

       Section 1983 is a federal statue by which the deprivation of

constitutional rights may be redressed.            42 U.S.C. § 1983.       In

pertinent part, this statute provides:
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       Every person who, under color of any statute, ordinance,
       regulation, custom, or usage of any State or Territory
       or the District of Columbia, subjects, or causes to be
       subjected, any citizen of the United States or other
       person   within   the  jurisdiction    thereof  to   the
       deprivation of any rights, privileges, or immunities
       secured by the Constitution and laws, shall be liable to
       the party injured in an action at law, suit in equity,
       or other proper proceeding for redress.

Id.   To prevail on a section 1983 claim, plaintiffs must factually

support a determination (i) that the conduct complained of has

been committed under color of state law, and (ii) that the alleged

conduct deprived an individual’s rights, privileges or immunities

as secured by the Constitution or laws of the United States. 2

Rumford Pharmacy, Inc. v. City of East Providence, 970 F.2d 996

(1st Cir. 1992) (citations omitted); Parratt v. Taylor, 451 U.S.

527, 535 (1981) (overruled on other grounds); Gutierrez-Rodriguez

v. Cartagena, 882 F.2d 553, 559 (1st Cir. 1989).

       A.   Eighth Amendment

            The    Eighth    Amendment     will    govern    whether     Roman

sufficiently pled a cause of action pursuant to Federal Rule of

Civil Procedure 8.      While section 1983 does not create substantive

rights, it serves as a venue for vindication of federal rights

conferred     elsewhere.       Roman     invokes   section    1983     without



2 The parties do not dispute that the medical care provided by Torres to Roman

constitutes state action.   The Court’s disposition of the motion to dismiss
rests solely on Roman’s failure to state a claim pursuant to the Eighth
Amendment.
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specifying the underlying federal right that Torres allegedly

violated.     The Eighth Amendment provides that “[e]xcessive bail

shall not be required, nor excessive fines imposed, nor cruel and

unusual punishments inflicted.”             U.S. Const. amend. VIII. The

prohibition against cruel and unusual punishments serves as the

constitutional basis for section 1983 challenges concerning prison

conditions. 3     Leavitt v. Corr. Med. Servs. 645 F.3d 484, 496 (1st

Cir. 2011).

            The    Eighth    Amendment     bars   “unnecessary    and   wanton

infliction of pain,” which is “repugnant to the conscience of

mankind.”       Estelle     v.   Gamble,   429    U.S.   97,   105-06   (1976).

Suffering that serves no legitimate penological purpose is a form

of punishment proscribed by the Eighth Amendment.                Estelle, 429

U.S. at 103.      Not every infliction of pain or discomfort, however,

falls within the scope of the Eighth Amendment.                    Kosilek v.

Spencer, 774 F. 3d 63, 81 (1st Cir. 2014) (citing Farmer v.

Brennan, 511 U.S. 825, 837 (1994)).           Prison officials violate the



3 The Eighth Amendment is applicable to states pursuant to the Due Process

Clause of the Fourteenth Amendment. Giroux v. Somerset Cnty., 178 F.3d 28, 34
(1st Cir. 1999) (citing Robinson v. California, 370 U.S. 660 (1962)).      The
Commonwealth of Puerto Rico is also subject to the Eighth Amendment. Santana
v. Collazo, 714 F.2d 1172, 1175 n.1 (1st Cir. 1983); Feliciano v. Gonzalez, 13
F. Supp. 2d 151, 204 (D.P.R. 1998) (Perez-Gimenez, J.) (“The prohibition of
cruel and unusual punishment contained in the Eighth Amendment to the
Constitution of the United States has been made applicable to the Commonwealth
of Puerto Rico either through incorporation into the Due Process Clause of the
Fourteenth Amendment or as a result of the long history of its application in
our district.”).
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Eighth Amendment only when there has been an “objective, serious

deprivation” resulting from “deliberate indifference to the health

and safety of an inmate.”             Velazquez-Martinez v. Colon, 961 F.

Supp. 365 (D.P.R. 1997) (Fuste, J.) (citing Farmer, 511 U.S. at

837-88).

     B.     Plaintiffs Must Fulfill Subjective and Objective
            Elements to Prevail on an Eighth Amendment Claim

            Plaintiffs       asserting     an   Eighth   Amendment     claim    for

deficient medical care must fulfill an objective and subjective

prong.     Perry v. Roy, 782 F.3d 73, 78 (1st Cir. 2014) (citation

omitted).         To    satisfy     the   objective    prong,    prisoners     must

demonstrate a “serious medical need.”                 Mahan v. Plymouth Cnty.

House of Crrs., 64 F.3d 14, 18 (1st Cir. 1995).                 A serious medical

need is one that “has been diagnosed by a physician as mandating

treatment, or [. . .] is so obvious that even a lay person would

easily recognize the necessity for a doctor’s attention.”                     Id.

            The        subjective     prong     requires       proof   that     the

mistreatment involves “acts or omissions sufficiently harmful to

evidence    deliberate       indifference       to   serious    medical   needs.”

Feeney v. Corr. Med. Servs., Inc., 464 F.3d 158, 161-62 (1st Cir.

2006) (quoting Estelle, 492 U.S. at 105-06).                      The deliberate

indifference standard is satisfied when prison officials “acted or

failed to act despite [their] knowledge of a substantial risk of
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serious harm.”          Farmer, 511 U.S. at 842.          The court in Farmer

explained that deliberate indifference falls “somewhere between

the poles of negligence at one end and purpose or knowledge on the

other.”      Id.    (internal      citations     omitted).        See    Daniels    v.

Williams, 474 U.S. 327, 332 (1986) (negligent conduct does not

constitute a Fourteenth Amendment deprivation).                   The “inadvertent

failure to provide adequate medical care” cannot sustain an Eighth

Amendment claim because it “it cannot be said to constitute ‘an

unnecessary and wanton infliction of pain’ or to be ‘repugnant to

the conscience of mankind.’”           Estelle, 429 U.S. at 105-06.

            The     First   Circuit    Court     of   Appeals      has   held    that

allegations merely reflecting a “disagreement on the appropriate

course of treatment[,]” “[s]uch a[s] [a] dispute with an exercise

of    professional      judgment    may    present    a   colorable      claim     for

negligence,       but    falls     short    of    alleges     a     constitutional

violation.”     Ferranti v. Moran, 618 F.2d 888, 891 (1st Cir. 1980)

(delay in providing inmate with orthopedic footwear fell short of

establishing an Eighth Amendment claim). The Court concludes Roman

has   failed   to    satisfy     the   subjective     prong   because      Torres’s

treatment of Roman does not evince a deliberate indifference to

his health.     Accordingly, the Court need not address the objective

prong.
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     C.    The Allegations Set Forth in the Complaint Fail to
           Demonstrate a Deliberate Indifference to a Serious
           Medical Need

             Accepting all allegations in the complaint as true and

in the light most favorable to Roman, the Court cannot conclude

that a doctor’s refusal to prescribe an inmate his preferred

medication    implicates     the   Eighth   Amendment.       By   Roman’s     own

admission, Torres treated Roman “since day one.”             (Docket No. 3 at

p. 3.)     The medical treatment provided by Torres for Roman’s

herniated discs consisted of therapy and the administration of

“different medications.” Id. Indeed, Roman has received treatment

for his condition.

             Courts     “have      consistently      refused      to     create

constitutional claims out of disagreements between prisoners and

doctors about the proper course of a prisoner’s medical treatment.”

Watson v. Caton, 984 F.2d 537, 540 (1st Cir. 1993) (holding that

prisoner   failed      to   establish   deliberate    indifference      to    his

medical needs where doctor denied physical therapy).                   At most,

Roman’s allegations suggest a potential medical malpractice claim,

which falls far short of an Eighth Amendment violation.                Id.    See

Estelle, 429 U.S. at 1060 (“Medical malpractice does not become a

constitutional        violation    merely   because    the     victim    is     a

prisoner”).
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           Ultimately,      Roman   challenges     Torres’s    denial    of   a

specific medication, not that Torres refused to treat him, or that

Torres neglected to provide Roman with any pain relief whatsoever.

Contra Abernathy v. Dewey, Case No. 15-10431, 2017 U.S. Dist. LEXIS

161605 *1 (D. Mass. Sept. 28, 2017) (finding that prison officials

who ignored thirty sick-call slips and refused to treat inmate

exhibited a deliberate indifference to inmate’s serious medical

need).    No allegations suggest that Torres failed to diagnose

Roman, or that the treatment Roman received was so substandard as

to shock the conscience.        See Ruiz v. Rullan, 485 F.3d 150, 156

(1st Cir. 2007) (Deliberate indifference “may be shown by the

denial of needed care as punishment and by decisions about medical

care made recklessly with ‘actual knowledge of impending harm,

easily   preventable’”).       Roman   is   not   entitled    to   select   the

particular pain medication of his choosing.           See Kosilek, 774 F.3d

at 82 (noting that The Eighth Amendment “does not impose upon

prison administrators a duty to provide care that is ideal, or of

the prisoner’s choosing”).

           The   extent   of   Torres’s     medical   treatment,    including

therapy and access to several medications, negates a finding of

deliberate indifference to Roman’s medical needs.              Without more,

neither the Court nor a jury may second guess or undermine Torres’s

professional     judgment      in   withholding       a   prescription      for
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Gabapentin.       See Layne v. Vinzant, 657 F.2d 468, 474 (1st Cir.

1981) (“where a prisoner has received some medical attention and

the dispute is over the adequacy of the treatment, federal courts

are     reluctant       to     second      guess    medical   judgments        and   to

constitutionalize claims which sound in state tort law”).                      Roman’s

determination that the care provided by Torres rendered “no good

results”       shows    a    mere    disagreement    concerning    the     course    of

treatment.        Courts        do   not   dictate    prescriptions       to   medical

professionals, and have held that the refusal to provide pain

medication on demand is insufficient to support an Eighth Amendment

cause of action.            See e.g., Zigg v. Groblewski, Case No. 15-10771,

2017    U.S.    Dist.       LEXIS    161609   *15   (D.   Mass.   Sept.    29,   2017)

(Doctor’s “decision to delay prescribing a drug with an increased

risk of infection for a short period of time [. . .] to determine

whether a less-drastic remedy would suffice cannot reasonably

interpreted as evincing a ‘deliberate intent to harm’” an inmate);

Murphy v. Magnusson, Case No. 98-439, 1999 U.S. Dist. LEXIS 12598

*14-15 (D. Me. July 27, 1999) (Holding that refusal to provide

prisoner with pain medication, extra mattresses, and a new pair of
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shoes “even if proven, would not rise to the level of deliberate

indifference”). 4     Accordingly, the compliant must be dismissed.

IV.    Conclusion

       For the reasons expressed above, the Court GRANTS Torres’s

motion to dismiss pursuant to Rule 12(b)(6).               (Docket No. 19.)

Consequently, the complaint is dismissed with prejudice.

       Judgment shall be entered accordingly.

       IT IS SO ORDERED.

       San Juan, Puerto Rico, January 16, 2018.


                                           s/ Francisco A. Besosa
                                           FRANCISCO A. BESOSA
                                           UNITED STATES DISTRICT JUDGE




4 See also, Pavia v. Blanchette, Case No. 13-252, 2015 U.S. LEXIS 131457 *7
(D.R.I. Sept. 29, 2015) (“Mr. Pavia simply has not established that the
allegedly insufficient pain medication was more than a disagreement with the
course of treatment his doctors chose”); Osahenrumwen Ojo v. Hillsborough County
Dep’t. of Corr., Case No. 11-210, 2011 U.S. Dist. LEXIS 151022 *16 (D.N.H. Dec.
21, 2011) (granting motion to dismiss because “there is nothing in the complaint
to suggest that the failure to give [the prisoner] two doses of ibuprofen
evidenced any intention to inflict pain upon [the prisoner]”); Niemic v. UMass
Corr. Health, 89 F. Supp. 3d 193, 204 (D. Mass. 2015) (dismissing section 1983
claims because “although Dr. Hameed did not always prescribe Niemic’s preferred
medication, Dr. Hammed consistently provided him with pain medication”); Menser
v. Wexford Health, Case No. 13-532, 2015 U.S. Dist. LEXIS 35216 *9 (S.D. Miss.
Mar. 19, 2015) (“Menser’s disagreement with the type of pain medication he was
initially prescribed does not constitute deliberate indifference under Section
1983”).
